                 Case 3:08-cr-00014-HDM-VPC               Document 55               Filed 02/05/09       Page 1 of 6
:liO 2458.   (Rev.09/08)JudgmentinaCriminalCase
             Sheet1


                                   U NITED STATES D ISTRICT C O                                T
                                                       DistrictofNevada
             LJNITED STATES OFAM ERICA                             )
                                                                   )   JUDGM ENT IN A CRIM INAL CASE
                          V.                                       )
                  CHRISI'I'
                          NE AI-PER'I-                             )
                                                                   )   CaseNumber:           3:08-cr-000I4-HDM -vPc-2
                                                                   )   usu Number:           43060-048
                                                                   )
                                                                   )   Dql lgl-
                                                                              x.!K.rermoile,-Mj
                                                                                .
                                                                       Defendant'sAttorney    -
                                                                                                q,.....          .   ..- - . - - ..-



TH E D EFEN DA NT :
X pleadedguiltytocountts) Siyofjpp-
                                  ty-j-
                                      eljj!gJndictmentfilej,
                                                           4.
                                                            /74908
(ZIpleadednolocontenderetocountts)
  whichwasacceptedbythecourt.
E1wasfoundguiltyoncountts)
  aftera plea ofnotguilty.

Thedefendantisadjudicatedguiltyortheseoffenses:
Title& Section               NatureofO ffense                                                 O ffenseEnded                  Count
18,U.S.C.j513(a)             UtteringaCounterfeitSecurityofanOrganization                     12/27/07                       Six




      Thedefendantissentencedasprovidedinpages2through             j            ofthisjudgment.Thesentenceisimposedpursuantto
the Sentencing Reform Actot1984,
I
ZIThedefendanthasbeenfoundnotguiltyoncountts)
X Countts) FiveofSuperseding Indict.7/2/08 X is         EEIare dismissed onthemotion oftheUnited States.
        ltisorderedthatthedefendjmtmustnotifytheUnited Statesattomeyforthisdijtrictwithin30daysofjmychangeofname,residepce,
ormailingaddressuntilaI1tines,restltution,costsandspecialassessmentslmposedbythlsjudgpmeptarefullypald.lforderedtopayrestitutlon,
thedefendantmustnotifythecourtandUnitedSiatesattorneyofmaterlalchangesineconomlcclrcumstances.
                                                               FepppryA -7t
                                                                          lW                         -       .                         -.
                                                               DateofImpositlonofàudgment




                                                               FJQWARD D.MCKJMMFN.CeniorUnitxflStattl-p.jsyictJtsge
                                                              .-
                                                               NamQand'ritleorludge
                                                                                  '
                                                                                      -                                                     -   .




                                                                            .       (,q
                 Case 3:08-cr-00014-HDM-VPC                 Document 55      Filed 02/05/09        Page 2 of 6
AO 2458    (Rev.09/08)JudgmentinaCriminalCase
           Sheetrl- probation
                                                                                           Judgnaent--page   2    of      6
DEFEN DANT'.               CHRISTINE A LPERT
CASE NUM BER:              3:08-cr-00014-HDM -VPC-2
                                                        PR OBATIO N
Thedefendantishereby sentenced to probation fora tenn of:
          SIXTY (60)M ONTHS



Thedefendantshallnotcom m itanotherfederal stateorIocalcrime.
  Thedefendantshallnotunlawfullypossessacontrolledjubstance.Thedefendantshallrefrainfrom any unlawfulujeqfacontrolled
substance.Thedefendantshallsubmltto onedrug testwlthin l5daysofplacementon probationand atleasttwoperlodlcdrugtests
thereatter,asdeterm lnedbythecourt.
Ei n eabovedrugtestingconditionissuspended basedonthecourt'sdeterminationthatthedefendantposesa1ow riskof
      fum resubstanceabuse.(Check,Lfapplicablen
                                              )
X    ThedefendantshallnotpossessaGrearm ammunition destructivedevice orany otherdangerousweapon. (check,Lfapplicable.
                                                                                                                    )
x    The defendantshallcooperate in the collection ofDN A as directed by the probation officer. (check,yt,ri//lca,/e?    .


E) Thedefendantshallcomply withtherequirementsoftheSexOffenderRegistrationandNotificationAct(42 U.S.C.j 16901,ptseq.)
     asdirected bytheprobatlonoffiger,theBureap ofPrisons,orany statesex offenderregistration agency in whichheorsheresldes,
     works,isa sm dent orwasconvlctedofaquallfyingoffense (check'éapplicable.
                                                                            )
(
Z1 Thedefendantshallparticipateinan approvedprogram fordomesticviolence.(Check,tfapplwable.
                                                                                          )
          lfthisjudgmeptimposesafineorrestitution,itisaconditionofprobationthatthedefendantpayinaccordancewiththeScheduleof
PaymentssheetofthisJudgm ent.
        Thedefendantmustcom plyw iththestandardconditionsthathavebeenadoptedbythiscourtaswellaswithanyadditionalconditions
ontheattachedpage.
                                    STAN DARD CO NDITIO NS OF SU PERV ISIO N
  1) thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofticer'
  2) thedefendantshallreporttotheprobationoftkerandshallsubmita% th11andcompletewrittenreportwithinthetirstfivedaysof
     each m onth'
  3) thedefendantshallanswertruthfullyaIlinquiriesbytheprobationofficerandfollow theinstructionsoftheprobationofficer;
  4) thedefendantshallsupporthisorherdependentsandmeetotherfamilyresponsibilities',
  5) thedefendantshallworkregularly ata Iawfuloccupation,unlessexcused by the probation ofticerforschooling,training,orother
      acceptablereasons'
  6) thedefendarltshallnotifytheprobationofticeratleasttendayspriortoanychangeinresidenceoremployment;
  7) thedefendantshallrefkain frqm excessive useofalcoholand shallnotpurchase.possessvuse, distribqte,oradministeranycontrolled
      substanceoranyparaphernallarelated toany controlledsubstances,exceptasprescribedby aphysiclan;
 8) thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegallysold,used,distributed,oradministered;
 9) thedefendantshallnotassogiatewith anypersonsengaaed incriminalactivityand shallnotassociatewithany personconvicted ofa
      felony,unlessgranted pennlssionto doso by theprobatlonofficer;
 l0) thedefendantshallpermitqprqbationofticertoyisithim orheratanytimeathomeorelsewhereandshallpennitcontiscationofany
      contraband observed ln plaln vlew oftheprobatlon officer'
 11) thedefendantshallnotifytheprobationofticerwithinseventy-twohoursofbeingarrestedorquestionedbyalaw enforcementofticer;
 12) thedsfendantshallnotenterintoany agreementtoactasan informeroraspecialagentofalaw enforcementagencywithoutthe
      permlssion chftlpecoul
                           -t'and
 13) asdirectedbytheprobationofticer,thedefendantshallnotifythirdpartiesofrisksthatmaybeoccasionqdbythedefendant'scriminal
      record orpersona1histoq orcharactrristiçsand shallpennitthe probation officerto make such notlficationsand to confinn the
      defendant'scom pliancewlth suchnotlficatlon requirement
               Case 3:08-cr-00014-HDM-VPC          Document 55       Filed 02/05/09     Page 3 of 6
AO2458     (Rev,09/08)Judgmcnti
                              naCri
                                  minalCase
           Shed 4C - Probation
                                                                                 Judgment--page   3   of    -   f
DEFENDANT:              CHRISTINE ALPERT
CA SE NUM BER:          3:08-cr-000l4-HDM -VPC-2

                                  SPECIAL C OND ITIO N S O F SUPERV ISIO N

1.       Possession ofW eaoon -The defendantshallnotpossess,have underher control,orhave accessto any
         tirearm ,explosivedevice,orotherdanyerousweapons,asdetined by federal,stateorlocallaw. 18U .S.C.
         3565(17)mandatesrevocationofprobatlonforpossessionofatirearm.
2.       W arrantless Search -T'
                               he defendantshallsubm itto the search ofherperson, and any property,residence,or
         autom obile underhercontrolby the probation officer,orany other authorized person underthe irnm ediate
         andpersonalsupervision oftheprobation officer,withoutasearch warrantto ensurecompliancewith all
         conditions ofrelease.
3.       Substance Abuse Treatm ent-The defendantshallparticipate in and successfully com plete a substance
         abusetreatm entand/orcognitivebased life skillsprogram ,which willincludedrug/alcoholtesting,
         outpatientcounseling,orresidentialplacem ent,as approved and directed by theprobation officer. Further,
         the defendantshallberequiredto contributeto thecostsofservicesforsuch treatment, as approved and
         directed bytheprobation officerbased upon thedefendant'sability topay.
4.       CommunityServic,e-Thedefendantshallcompltteforty(40)hoursofcommunityserviceasapprovedand
         directed bytheprobation ofticer.
5.       Hom eConlinementW ith Electronic M onitoring-Thedefendarltshallbeconfined to home continement
         withelectronicmonitoring foraperiodoftwo(2)months.Further.thedefendantshallpay l00% ofthe
         costsofeledronic m onitoring services.
6.       D ebtObligation -The defendantshallbe prohibited from incuning new creditcharges, opening additional
         linesofcredit,ornegotiating orconsum m ating any financialcontracts, withoutthe approvalofthe
         probation ofticer.
7.   Accessto FinancialInform ation -Thedefendantshallprovide the probation ofticeraccessto any requested
     financialinform ation,includingpersonalincometaxes,authorization forrelease ofcreditinformation, and
     any otherbusiness tinancialinform ation in w hich the defendanthasa controlorinterest.
                Case 3:08-cr-00014-HDM-VPC                        Document 55          Filed 02/05/09      Page 4 of 6
AO 2458   (Rev.09/08)JudgmentinaCriminalCase
          Sheet5- Crim inalM onetaryPenalties

                                                                                                Judgment--Page 4       of 6
DEFENDANT'                      CHRISTINE ALPERT                                                                              ---
CASE N UM BER:                  3:08-cr-00014-HDM -VPC-2
                                          CR IM IN AL M O NETA RY PENA LTIES
    Thedefendantmustpaythetotalcriminalmonetarypenaltiesunderthe scheduleofpaymentson Sheet6.

                    Assessm ent                                      Fine                             Restitution
TOTALS           $ 100.00                                          $ None                           $ 8.690.58


(
Z) Thedetermination ofrestitutionisdeferreduntil                 .An Amended Judgment in a CriminalCase(.
                                                                                                        d(?245c) willbt entered
    aftersuch detennination.

(ZI Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
    Ifthedefendantm akesapartialpayment,eachpayeeshallreceiveanapproxim atelyproportioned payment,unlesssprcitiedothenvisein
                                                                                         .
    thepriorityorderorpercgntagepaymentcolumnbelow.However,pursuantto l8U.S.C.j3664(1),allnonfederalvlctimsmustbepaid
    beforetheUnited StatesIspald.

Nam eofPavee                              TotalLoss*                        Restitution O rdered              Prioritv orPercentaee
Citi                                                                        $8.690.58
Risk Prevention & Asset
 Recovery Unit
Attn:C indy Nina
1 CourtSquare,lt/bFloor
Long IslandC ity,NY
1ll20




TOTALS                          $                                       $ $8,690.58

I
ZI Restitution mnountorderedpursuanttopleaagreement $

EE1 Thedefendantmustpayinterestonrestitution anda5neofmorethan $2 500 unlesstherestitutionortineispaidin fullbeforethe
    fiheenthdayafterthedateofthejudgment,pursuantto l8U.S.C.j36I2(9.AllofthepaymentoptionsonSheet6maybesubject
    topenaltiesfordelinquencyanddefaultpursuantto18U.S.C.j36l2(g).
EEI Thecourtdeterminedthatthedefendantdoesnothavetheabilityto pay interestand itisorderedthat:
    (ZI theinterestreqtlirementiswaived forthe             E5 tine E() restitution.
    I
    ZI theinterestrequiremeptforthe             (ZI fine     EEI restitution ismodifiedasfollows:
                Case 3:08-cr-00014-HDM-VPC                    Document 55           Filed 02/05/09         Page 5 of 6
AO2458    (Rev.09/08)ludgmentinaCrimlnalCase
          Sheet6- ScheduleofPayments
                                                                                                   Judgment--Page     5 . of   6
 DEFENDANT:               CHRISTINE ALPERT
 CA SE N UM BER.
               .          3:08-cr-00014-HDM -VPC-2

                                                 SCH ED ULE O F PA YM EN TS

Having assessedthedefendant'sabilitytopay,paymentofthetotalcriminalmonetarypenaltiesisdueasfollows:
A    X Lump sum paymentof$ Jl
                            .
                            àthpo   -                    dueimmediatel
                                                                     y,balancedue
          EI notlaterthan                                     ,or                                                    -
          X inaccordance            E) C       (Zl D     (D    E or X F below;or
B    (7) Paymenttobegininunediately(maybecombinedwith               EEIC,       LlD,or (7)Fbelowl;or
(2 E1 Paymentinequal                           (e.g.,weckl
                                                         y'
                                                          ,monthl
                                                                y,quarterl
                                                                         y)installmentsof %                         overaperiodof
                         (e.g.,monthsoryears),tocommence                    (e.g.,30or60days)afterthedateofthisjudgment'
                                                                                                                       ,or
D    E1 Paymentinequal                         (e.g.,weekly,monthl
                                                                 y,quarterly)installmentsof $                       overaperiod of
                         (e.
                           g.,vsor///,xoryears),tocommence                  (c.g.,Jpor60days)atterreleasefrom imprisonmenttoa
          term ofsupervision'or

E    El Paymentduringthetenn ofsupervisedreleasewillconmwncewithin                              (c.g.,30or60days)afterreleasefrom
          imprisonm ent.Thecourtwillsetthepaym entplanbased onan assessmentofthedefendant'sability to pay atthattim e'or
F    X    Specialinstructionsregardingthepaymentofcriminalmonetarypenalties:
          Restitutionintheamountof$8,690.58,with interest.jointly and severallywithco-defendantRichard
          Narra,payableattherateofnoIessthan 10% ofgrossincome,subjecttoan adjustmentbytheCourt
                                                                                                          based upon abllity to pay.


unlessthecourthasexpressl yprderedotherwise, ifthisjudgmentimposesimprisonmentypaymentofcriminalmonetqrypenaltiesisdue
dpring imprisonmsnt Al1crlmlnalmonetaly penalties exceptthosepaymentsmadetlzroughtheFederalBureauofPrlsons'lnmate
FlnancialResponslbiiityProgram,aremadetotheclerkofthecourt.
                     .



Thedefendantshallreceivecreditfora11paymentspreviouslym adetowardanycriminalm onetarypenaëtiesimposed.



X    Jointand Several

     Defendantand Co-D efendantN am es and Case N um bers(includingdepndantnumber), TotalA mount,Jointand Several
     Amount,
     and corresponding payee,ifappropriate.
    DefendantC hristineA lpert,CaseNol3:08-cr-00014-HD M -VPC-2.$8,690.58 Totalam ount, Jointand Severalw ith C o-
    DefendantRichard Narra,CaseNo.3:08-cr-00014-HDM -VPC-1


    The defendantshallpay the costofprosecution.
ILI The defendantshallpaythefollowing courtcostts):
I
ZI Thedefendantshallforfeitthedefendant'sinterestin thefollowing propertytotheUnited States:


Paymentsshallbeappliedinthefollowingorder:(1)pssessment,(2)rejtitutiqnprincipal,(3)restitutioninterest,(4)fineprincipal,
(5)fineinterest,(6)communityrestitution,(7)penaltles,and(8)costs,lncludlngcostofprosecutionandcourtcosts.
              Case 3:08-cr-00014-HDM-VPC                 Document 55   Filed 02/05/09        Page 6 of 6
AO 2458   (Rev.09/08)JudgmcntinaCriminalCase
          Sheet62$.- ScheduleofPayments
                                                                                     Judgnnent--page   6   of       6
DEFEN DAN T:           CHRISTINE A LPERT
CASE NUM BER:          3208-cr-000l4-HD M -V PC-2

      A DDITION AL DEFENDA NTS AN D CO -D EFEN DAN TS H ELD JO INT AN D SEVER AL
CaseN um ber
D efendantand Co-DefendantN am es                                  JointandSeveral             CorrespondingPayee,
(includinedefendantnum ber)                    TotalAmount             A m ount                   ifappropriate

3:08-cr-000l4-H DM -VPC-2
 DefendantChristineAlpert                           $8,690.58           $8,690.58        Citi.Risk Prevention and
                                                                                           AssetR etoveryU nit
                                                                                           A ttn:Cindy Nina
                                                                                           1CourtSq.*10'bFloor
                                                                                           Long Island,NY 1l120
3:08-cr-00014-HD M -V PC-1
 Co-llefendantRichard Narra                         $8,690.58          $8,690.58         SeeAboveAddress
